
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-07-00098-CR


______________________________




DEMETRIUS RAMON AKKARD, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the 102nd Judicial District Court


 Bowie County, Texas


Trial Court No. 06F0483-102




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Chief Justice Morriss



MEMORANDUM OPINION



	Demetrius Ramon Akkard was convicted January 11, 2007, of two counts of possession of
a controlled substance and placed on community supervision.  See Tex. Health &amp; Safety Code
Ann. § 481.115 (Vernon 2003).  On June 14, 2007, the trial court revoked his community
supervision.  Akkard appeals that revocation.  

	Akkard pled "true" to four of the allegations contained in the State's motion to revoke his
community supervision.  The trial court then revoked his community supervision and sentenced him
to two years' imprisonment in a state-jail facility on each count, with the sentences to run
concurrently.  Akkard was represented by the same appointed counsel at his revocation hearing and
on this appeal therefrom. 

	Appellate counsel filed a brief December 5, 2007, under the mandate of Anders v. California,
386 U.S. 738 (1967), and Ex parte Senna, 606 S.W.2d 329, 330 (Tex. Crim. App. 1980), and has
accordingly also filed a motion to withdraw.  Counsel sent Akkard a copy of the brief and advised
him by letter that he believes there are no arguable contentions of error.  He also informed Akkard
of his right to review the record and file a pro se response.  Akkard has not filed a response, nor has
he requested an extension of time in which to file such a response.

	Counsel has filed a brief which discusses the record and reviews the proceedings.  Counsel
has, thus, provided a professional evaluation of the record demonstrating why, in effect, there are
no arguable grounds to be advanced, as required by High v. State, 573 S.W.2d 807, 812 (Tex. Crim.
App. [Panel Op.] 1978).  See also Stafford v. State, 813 S.W.2d 503, 510 n.3 (Tex. Crim. App.
1991).  Counsel concluded from his review of the record there is no arguable point of error to
support the appeal.   

	Counsel further states in the brief that Akkard freely and voluntarily entered his pleas of
"true" to the allegations contained in the motion to revoke and that there is legally and factually
sufficient evidence to support the trial court's revocation.  Counsel's statements are supported by the
record.

	We have reviewed the record and find the evidence sufficient to support the judgment of
revocation.  Based on our review of the record of this proceeding, we also agree with counsel there
are no arguable points of error in this case. (1)


	We do note, however, that the trial court's judgment in this case indicates Akkard pled "true"
to all ten of the allegations contained in the State's motion to revoke.  Our review of the record shows
that Akkard pled "true" to four of those allegations, and either did not answer the rest or pled "not
true." (2)

	This Court has the authority to reform the judgment to make the record speak the truth when
the matter has been called to our attention by any source.  French v. State, 830 S.W.2d 607 (Tex.
Crim. App. 1992).  In Asberry v. State, 813 S.W.2d 526 (Tex. App.--Dallas 1991, pet. ref'd), the
court noted that the authority of the appellate court to reform incorrect judgments is not dependent
on request of any party; the appellate court may act sua sponte.  The Texas Rules of Appellate
Procedure provide direct authority for this Court to modify the judgment of the trial court.  Tex. R.
App. P. 43.2.

	Therefore, we hereby reform the judgment to indicate only the four allegations to which
Akkard did plead true:  (1) the offense of failure to identify on or about April 22, 2007, in Bowie
County, Texas; (2) the offense of evading arrest on or about April 25, 2007, in Bowie County, Texas;
(3)&nbsp;failure to report to the community supervision officer on a monthly basis or as otherwise directed
by the supervising officer in charge of the case, to-wit:  failed to report as directed on March 15,
2007; and (4) failed to abstain from the use of narcotic or habit-forming drugs without a doctor's
prescription, to-wit:  tested positive for cannabinoids on February 15, 2007, and gave admission to
use.  

	As reformed, we affirm the judgment of the trial court.



							Josh R. Morriss, III

							Chief Justice


Date Submitted:	February 12, 2008

Date Decided:		February 15, 2008	


Do Not Publish



1. Since we agree this case presents no reversible error, we also, in accordance with Anders,
grant counsel's request to withdraw from further representation of Akkard in this case.  No substitute
counsel will be appointed.  Should Akkard wish to seek further review of this case by the Texas
Court of Criminal Appeals, he must either retain an attorney to file a petition for discretionary review
or Akkard must file a pro se petition for discretionary review.  Any petition for discretionary review
must be filed within thirty days from the date of either this opinion or the last timely motion for
rehearing that was overruled by this Court.  See Tex. R. App. P. 68.2.  Any petition for discretionary
review must be filed with this Court, after which it will be forwarded to the Texas Court of Criminal
Appeals along with the rest of the filings in this case.  See Tex. R. App. P. 68.3.  Any petition for
discretionary review should comply with the requirements of Rule 68.4 of the Texas Rules of
Appellate Procedure.  See Tex. R. App. P. 68.4.
2. A plea of "true" to even one allegation is sufficient to support a judgment revoking
community supervision.  Cole v. State, 578 S.W.2d 127, 128 (Tex. Crim. App. 1979); Lewis v. State,
195 S.W.3d 205, 209 (Tex. App.--San Antonio 2006, pet. denied); see Moses v. State, 590 S.W.2d
469, 470 (Tex. Crim. App.  [Panel Op.] 1979).


